                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE


Amy Woods
                                                   Plaintiff   Case No.: 3:22−cv−00226
v.
                                                               Judge William L. Campbell, Jr.
City of Franklin, Tennessee
                                                   Defendant Magistrate Judge Barbara D. Holmes

          NOTICE OF SETTING OF INITIAL CASE MANAGEMENT CONFERENCE

        Pursuant to Local Rule 16.01, notice is hereby given that an Initial Case Management
Conference ("ICMC") is scheduled before Magistrate Judge Barbara D. Holmes, on 5/9/2022 at
09:30 AM. Unless otherwise ordered, all ICMSs will be conducted by telephone, hosted by the
Court. Participants are directed to call 1−877−402−9753 code 3808663# to participate. (Participants
may hear music until Judge Holmes joins as host.)
        LEAD TRIAL COUNSEL FOR EACH PARTY is required to participate in the ICMC
unless otherwise ordered. Appearance by counsel at the ICMC will not be deemed to waive any
defenses to personal jurisdiction. Counsel are advised to have their calendars available during the
ICMC.
         IF ALL PARTIES HAVE NOT BEEN SERVED prior to the ICMC date, counsel for the
filing party is responsible for moving to reschedule the ICMC, perferably at least 7 days in advance
of the scheduled ICMC date.
        COUNSEL FOR ALL PARTIES MUST, at the initiative of plaintiff's counsel or the
removing party's counsel, prepare a joint proposed Initial Case Management Order ("ICMO") that
complies with Local Rule 16.01(f), (g), and (h), which must be filed at least three (3) business days
before the ICMC. Counsel shall utilize the form ICMO found under the link to Judge Holmes on the
Court's website. IN ADDITION, the proposed ICMO must be separately emailed in Word format to
Ms. Jeanne Cox, Courtroom Deputy, at Jeanne_W_Cox@tnmd.uscourts.gov.
      Failure to timely move for a rescheduled date for the ICMC or to timely file the proposed
ICMO electronically can result in sanctions.
      PURSUANT TO LOCAL RULE 16.01(e)(2), COUNSEL FOR THE PARTY INITIATING
THIS LAWSUIT MUST SERVE A COPY OF THIS NOTICE ON THE OTHER PARTIES TO
THIS LAWSUIT ALONG WITH THE SUMMONS AND COMPLAINT OR WITH THE
REQUEST FOR WAIVER OF SERVICE UNDER FED.R.CIV.P. 4(d), OR WITH THE SERVICE
COPY OF THE NOTICE OF REMOVAL.


                                                                        CLERK'S OFFICE
                                                                        Middle Districe of Tennessee



           Case 3:22-cv-00226 Document 6 Filed 04/01/22 Page 1 of 1 PageID #: 23
